               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Case No. 20-CV-954

FARHAD AZIMA,

       Plaintiff,
                                                 PLAINTIFF’S
       v.                                   MEMORANDUM IN SUPPORT
                                              OF MOTION TO SEAL
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.

      Plaintiff Farhad Azima hereby respectfully submits this Memorandum

of Law in Support of his Motion to Seal the document currently filed as ECF

No. 201-1, which is Exhibit 1 in support of Plaintiff’s Response in opposition to

the Motion to Quash filed by Defendants as to the subpoena to First Citizens

Bank (ECF No. 196).

      In considering a party’s motion to seal certain documents, the Court

“must comply with certain substantive and procedural requirements.” Va.

Dep't of State Police v. Wash. Post, 386 F.3d 567, 576 (4th Cir. 2004). The Court

must (1) give the public notice and a reasonable chance to challenge the motion

to seal the documents; (2) consider less drastic alternatives to sealing,

including redaction; and (3) if it decides to seal the documents, make specific

findings and state the reasons for its decision to seal over the alternatives. Id.




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      As to the substance of the motion to seal, the Court “first must determine

the source of the right of access with respect to each document, because only

then can it accurately weigh the competing interests at stake.” Id. The Court

may seal documents “if the public's right of access is outweighed by competing

interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). The factors

the Court takes into account in this regard include “whether the records are

sought for improper purposes, such as promoting public scandals or unfairly

gaining a business advantage; whether release would enhance the public's

understanding of an important historical event; and whether the public has

already had access to the information contained in the records.” Id. Based on

an evaluation of these and any other relevant factors, the Court must find that

the justification for sealing documents overcomes both the First Amendment

and common law presumption of access.

      The document Plaintiff seeks to seal in Exhibit 1 includes excerpts from

the deposition of Mr. Del Rosso. At various times, Defendants have taken

shifting and inconsistent positions about what categories of information should

be treated as confidential but have generally contended that excerpts from Mr.

Del Rosso’s deposition be treated as confidential. Out of an abundance of

caution, Plaintiff is filing the materials in Exhibit 1 under seal, but reserves




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the right to address confidentiality issues with respect to portions of the

deposition transcript in later proceedings.

      Pursuant to Local Rule 5.4(c), Azima states that he not the party

claiming confidentiality. Any party claiming confidentiality bears the burden

to file a response demonstrating that sealing is warranted.

      For the foregoing reasons, Plaintiff Farhad Azima respectfully requests

that his Motion to Seal Exhibit 1 be granted, or in the alternative that he be

given reasonable time to attempt to redact the Exhibit as ordered by the Court

to be redacted.

      This, the 17th day of April, 2023.

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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      CASE NO. 20-CV-954

FARHAD AZIMA,

       Plaintiff,

       v.
                                            CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and
VITAL MANAGEMENT SERVICES,
INC.,

       Defendants.

      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice to the following attorneys:

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This, the 17th day of April, 2023.

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